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                      Exhibit 2
                                to

          Memorandum of Law in Support of United States’
              Motion to Consolidate Cases for Trial
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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


 In re: PHARMACEUTICAL                       )
 INDUSTRY AVERAGE WHOLESALE                  )
 PRICE LITIGATION                            )
                                             )
                                             )
 THIS DOCUMENT RELATES TO:                   )
                                             )    MDL No. 1456
 United States of America ex rel. Ven-a-     )    Master Case No. 01-12257-PBS
 Care of the Florida Keys, Inc. v. Dey,      )
 Inc., et al., Civil Action No. 05-11084-    )    Subcategory Case No. 06-11337-PBS
 PBS; and                                    )
                                             )    Hon. Patti B. Saris
 United States of America ex rel. Ven-a-     )
 Care of the Florida Keys, Inc. v.           )
 Boehringer Ingelheim Corp., et al., Civil   )
 Action No. 07-10248-PBS                     )




                SECOND DECLARATION OF CAROLYN HELTON

      I, Carolyn Helton, do hereby declare and state as follows:

      1.     I am currently employed by CIGNA Government Services (“CIGNA”).

      2.     On July 23, 2009, I executed a declaration in the above-captioned cases. I

have discovered minor mathematical errors in paragraph 40 of that declaration.

Paragraph 40 should read as follows:

             40.     In the above illustration, the effect of using lower AWPs for

      both the Dey and Roxane products would be to reduce the allowable

      amount from $3.34 to $1.63. This is a reduction of $1.71 and represents the
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